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              1   LAW OFFICES OF CHRIS COSCA
                  CHRISthCOSCA          CA SBN 144546
              2   1007 7 Street, Suite 210
                  Sacramento, CA 95814
              3   (916) 440-1010
              4   Attorney for Defendant
                  KENNETH GEORGE EATON
              5

              6

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              8
                                          IN THE UNITED STATES DISTRICT COURT
              9
                                        FOR THE EASTERN DISTRICT OF CALIFORNIA
             10

             11

             12   UNITED STATES OF AMERICA,                        )   2: 11-CR-00323 JAM
                                                                   )
             13                   Plaintiff,                       )   WAIVER OF DEFENDANT KENNETH
                                                                   )   GEORGE EATON’S APPEARANCE AND
             14          vs.                                       )   ORDER
                                                                   )
             15   KENNETH GEORGE EATON,                            )
                                                                   )
             16                                                    )
                                                                   )
             17                   Defendant.                       )
                                                                   )
             18                                                    )

             19

             20
                         Defendant KENNETH GEORGE EATON hereby waives his right to be personally
                  present in open court for the hearing of any status conference, motion or other proceeding in
             21
                  this case, except that he will agree to be personally present for any plea, sentencing or jury trial,
             22

             23
                  and he agrees to be personally present in court when so ordered.

             24
                         Defendant KENNETH GEORGE EATON hereby requests the court to proceed in his

             25
                  absence. Defendant agrees that his interests will be deemed represented at all times by the
                  presence of his undersigned attorney, the same as if he were personally present. Defendant
             26
                  further agrees to be present in court ready for trial on any date set by the court in his absence.
             27

             28
                         Defendant further acknowledges that he has been informed of his rights under the



                                                 Waiver of Defendant’s Appearance
                                                           USA v. EATON

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              1   Speedy Trial Act (Title 18 U.S.C. Sections 3161 – 3174), and he has authorized his
              2   undersigned attorney to set times for hearings and to agree to delays under the provisions of the
              3   Speedy Trial Act without him being personally present.
              4

              5

              6
                  Dated: March 12, 2012                                Respectfully submitted,
              7

              8

              9                                                        /s/ Kenneth George Eaton ____
                                                                       KENNETH GEORGE EATON
             10
                                                                       Defendant
             11

             12
                                                                       _/s/ Chris Cosca _______________
             13
                                                                       CHRIS COSCA
             14                                                        Attorney for Defendant,
                                                                       KENNETH GEORGE EATON
             15

             16
                                                              ORDER
             17

             18

             19
                  IT IS SO ORDERD.

             20

             21   Dated: March 12, 2012                                /s/ John A. Mendez_________________
             22
                                                                       JOHN A. MENDEZ, JUDGE
             23                                                        UNITED STATES DISTRICT COURT
             24

             25

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                                                Waiver of Defendant’s Appearance
                                                          USA v. EATON

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